
The Supreme Court affirmed the judgment of the Common Pleas on March 31st, 1884, in the following opinion :
Per Curiam.
These two cases were tried together in the Court below and were argued together here. The plaintiff in error has no just •complaint, that the attachment executions were received in •evidence, tie was not thereby prevented from making any defense which he might otherwise have made to the revival of the judgments. The liens were about expiring and the Bank had not yet obtained judgment against the garnishee. The plaintiff in error was in no condition to object to the revival of the judgments for such sums as were due thereon. The Court committed no error in rejecting the evidence offered to ■ show payments, which had been given in evidence and adjudicated in other cases between the same parties. The fact that the plaintiff in error did not under the verdicts in those •cases, get the benefit of all the claims he proved, and the jury passed upon, does not permit him to again have them considered and applied as a payment in the present cases.
Judgment in each case affirmed.
